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                               Exhibit 10

Form of Notice of Assumption of Executory Contracts and Unexpired Leases
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )        Chapter 11
                                                             )
JOANN INC., et al.,1                                         )        Case No. 25-10068 (CTG)
                                                             )
                           Debtors.                          )        (Jointly Administered)
                                                             )

                 NOTICE OF (A) EXECUTORY CONTRACTS AND
             UNEXPIRED LEASES TO BE ASSUMED OR ASSUMED AND
    ASSIGNED BY THE DEBTORS PURSUANT TO THE PLAN, (B) CURE AMOUNTS,
      IF ANY, AND (C) RELATED PROCEDURES IN CONNECTION THEREWITH

        PLEASE TAKE NOTICE THAT on [●], 2025, the United States Bankruptcy Court for
the District of Delaware (the “Court”) entered an order [Docket No. [●]] (the “Conditional
Disclosure Statement Order”): (a) authorizing the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) to solicit votes on the Second Amended Joint Chapter 11
Plan of JOANN Inc. and Its Debtor Affiliates [Docket No. [●]] (as modified, amended, or
supplemented from time to time, the “Plan”);2 (b) conditionally approving the Amended
Disclosure Statement for the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its
Debtor Affiliates [Docket No. [●]] (as modified, amended, or supplemented from time to time,
the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125 of
the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in
the solicitation package; (d) approving procedures for soliciting, receiving, and tabulating votes
on the Plan and for filing objections to the Plan; and (e) granting related relief.

       PLEASE TAKE FURTHER NOTICE THAT the Debtors filed the Assumed Executory
Contract and Unexpired Lease List [Docket No. [●]] (the “Schedule of Assumed Executory
Contracts and Unexpired Leases”) with the Court as part of the Plan Supplement on [●], 2025 as
contemplated under the Plan. The Debtors’ determination to assume or assume and assign under
the Plan the agreements identified on the Schedule of Assumed Executory Contracts and
Unexpired Leases is subject to ongoing review, revision, and further negotiation among the
Debtors and interested parties with respect thereto.



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
     Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570);
     joann.com, LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1,
     LLC (9030); JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’
     mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
2
     Capitalized terms not otherwise defined herein have the same meaning as set forth in the Plan.
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        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan and final approval of the Disclosure Statement
(the “Combined Hearing”) will commence on July 10, 2025, at 10:00 a.m., prevailing Eastern
Time, before the Honorable Craig T. Goldblatt, in the United States Bankruptcy Court for the
District of Delaware, located at 824 Market St. N, Third Floor, Wilmington, DE 19801.

       PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtors’ records reflect that you are a party to a contract that is listed on the Schedule of
Assumed Executory Contracts and Unexpired Leases. Therefore, you are advised to carefully
review the information contained in this notice and the related provisions of the Plan, including
the Schedule of Assumed Executory Contracts and Unexpired Leases.

       PLEASE TAKE FURTHER NOTICE THAT the Debtors are proposing to assume or
assume and assign the Executory Contract(s) and Unexpired Lease(s) listed in Addendum A
                                          3
attached hereto to which you are a party.

        PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtors have conducted a thorough review of their books and records and have
determined the amounts required to cure defaults, if any, under the Executory Contract(s) and
Unexpired Lease(s), which amounts are listed in Addendum A. Please note that if no amount is
stated for a particular Executory Contract or Unexpired Lease, the Debtors believe that there is
no cure amount outstanding for such contract or lease.

        PLEASE TAKE FURTHER NOTICE THAT any monetary defaults under an
Assumed Executory Contract or Unexpired Lease, as reflected on the Cure Notice and identified
in identified in Addendum A, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the Cure Claim in Cash on the Effective Date, subject to the limitations
described in Article V.D of the Plan, or on such other terms as the parties to such Executory
Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (a) the
amount of any payments to cure such a default, (b) the ability of the Wind-Down Debtors or any
assignee, as applicable, to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired
Lease to be assumed, or (c) any other matter pertaining to assumption, the cure payments


3
    Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors that any
    contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor has any liability
    thereunder. Notwithstanding anything to the contrary in the Plan or the GA Transaction Documents, the
    Debtors, the Wind-Down Debtors, and the Plan Administrator, as applicable, reserve the right to alter, amend,
    modify, or supplement the Assumed Executory Contracts and Unexpired Leases Schedule as identified in
    Article V of the Plan and in the Plan Supplement. The Debtors or the Wind-Down Debtors, as applicable, shall
    provide notice of any amendments to the Assumed Executory Contracts and Unexpired Leases Schedule to the
    parties to the Executory Contracts or Unexpired Leases affected thereby. For the avoidance of doubt, Article V
    of the Plan relates to Executory Contracts or Unexpired Leases other than such agreements assumed, assumed
    and assigned, or rejected in accordance with the terms of the Approval Orders.


                                                        2
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required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a
                                                                4
Final Order resolving the dispute and approving the assumption.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to Article V.C of the Plan, any
objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption or assumption and assignment or related cure amount must be Filed, served, and
actually received by the Debtors by no later than fourteen (14) days after actual receipt of this
Notice, provided that, if the Debtors modify the Assumed Executory Contract or Unexpired
Lease List, any party affected by such modifications shall have fourteen (14) days to object to
the proposed modified treatment from the date of their receipt of notice of such modification.

PLEASE TAKE FURTHER NOTICE THAT any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption, assumption and
assignment, or cure amount will be deemed to have assented to such assumption,
assumption and assignment, or cure amount.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OR ASSUMPTION
AND ASSIGNMENT OF ANY EXECUTORY CONTRACT OR UNEXPIRED LEASE
PURSUANT TO THE PLAN OR OTHERWISE SHALL RESULT IN THE FULL
RELEASE AND SATISFACTION OF ANY CLAIMS OR DEFAULTS, WHETHER
MONETARY OR NONMONETARY, INCLUDING DEFAULTS OF PROVISIONS
RESTRICTING THE CHANGE IN CONTROL OR OWNERSHIP INTEREST
COMPOSITION OR OTHER BANKRUPTCY-RELATED DEFAULTS, ARISING
UNDER ANY ASSUMED OR ASSUMED AND ASSIGNED EXECUTORY CONTRACT
OR UNEXPIRED LEASE AT ANY TIME BEFORE THE DATE OF THE DEBTORS OR
WIND-DOWN DEBTORS ASSUME OR ASSUME AND ASSIGN SUCH EXECUTORY
CONTRACT OR UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH
RESPECT TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS
BEEN ASSUMED OR ASSUMED AND ASSIGNED SHALL BE DEEMED
DISALLOWED AND EXPUNGED, WITHOUT FURTHER NOTICE TO OR ACTION,
ORDER, OR APPROVAL OF THE BANKRUPTCY COURT.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement, the Plan, the Plan Supplement, or related documents, you should contact
Kroll Restructuring Administration LLC, the claims and noticing agent retained by the Debtors
in these chapter 11 cases (the “Claims and Noticing Agent”), by: (a) writing via first class mail,
to JOANN Inc. (2025) Ballot Processing Center, c/o Kroll Restructuring Administration LLC,
850 Third Avenue, Suite 412, Brooklyn, NY 11232; (b) writing via electronic mail to
JoannInfo@ra.kroll.com (with “Joann Inc. Solicitation Inquiry” in the subject line); or (c) calling
the Debtors’ restructuring hotline at (844) 712-2239 (U.S./Canada, toll-free) or +1 (646) 863-
7121 (International, toll). You may also obtain copies of any pleadings filed in these chapter 11
cases (i) for a fee via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll

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    The Plan provisions referenced herein are for summary purposes only and do not include all provisions of
    the Plan that may affect your rights. If there is any inconsistency between the provisions set forth herein and
    the Plan, the Plan governs.


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Restructuring Administration LLC by accessing the Debtors’ restructuring website at
https://cases.ra.kroll.com/Joann2025.

ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
INJUNCTION PROVISIONS, AND ARTICLE VIII.C CONTAINS A THIRD-PARTY
RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT THE CLAIMS AND NOTICING AGENT.


Dated: [●], 2025
Wilmington, Delaware

 /s/ DRAFT
  COLE SCHOTZ P.C.                                  KIRKLAND & ELLIS LLP
  Patrick J. Reilley (No. 4451)                     KIRKLAND & ELLIS INTERNATIONAL LLP
  Stacy L. Newman (No. 5044)                        Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Michael E. Fitzpatrick (No. 6797)                 Aparna Yenamandra, P.C. (admitted pro hac vice)
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 Co-Counsel to the Debtors                          Co-Counsel to the Debtors
 and Debtors in Possession                          and Debtors in Possession




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